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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

RETHINK35, et al.,                                      §
                                                        §
                 Plaintiffs,                            §
                                                        §
v.                                                      §                    1:24-CV-92-DII
                                                        §
TEXAS DEPARTMENT                                        §
OF TRANSPORTATION, et al.,                              §
                                                        §
                 Defendants.                            §

                                                  ORDER

         Before the Court is Plaintiffs’ Notice of Dismissal, in which they dismiss Claim II (LWCF

Act and APA) of their complaint, (Dkt. 1), without prejudice as to all Defendants. (Dkt. 26).

Plaintiffs also dismiss the entire action without prejudice as to Defendant Marc Williams, in his

official capacity as Executive Director of the Texas Department of Transportation (“TXDOT”).

(Id.).

         In their notice, Plaintiffs cite Federal Rule of Civil Procedure 41(a)(1), (id.), which allows a

plaintiff to voluntarily dismiss an action without a court order by filing a notice of dismissal before

the opposing party serves an answer or a motion for summary judgment, or by filing a stipulation of

dismissal signed by all parties who have appeared. See Rules 41(a)(1)(A)(i), 41(a)(1)(A)(ii). Plaintiffs’

notice is not signed by all parties. (Id.).

         Rule 41(a)(1)(A)(i) allows a plaintiff to voluntarily dismiss an action without a court order by

filing a notice of dismissal before the opposing party serves an answer or a motion for summary

judgment. Fed. R. Civ. P. 41(a)(1)(A)(i). Though Rule 41 speaks of dismissing an “action,” the Fifth

Circuit has interpreted it to allow plaintiffs to dismiss all of their claims against individual opposing

parties. See Oswalt v. Scripto, Inc., 616 F.2d 191, 194–95 (5th Cir. 1980); Plains Growers ex rel. Florists’
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Mut. Ins. Co. v. Ickes-Braun Glasshouses, Inc., 474 F.2d 250, 254–55 (5th Cir. 1973); see also 9 Charles A.

Wright, et al. Federal Practice and Procedure § 2362 (3d ed. Aug. 2019 update). Defendant Marc Williams

has not served an answer or motion for summary judgment. Plaintiffs’ notice is therefore “self-

effectuating” and “no order or other action of the district court is required.” In re Amerijet Int’l, Inc.,

785 F.3d 967, 973 (5th Cir. 2015), as revised (May 15, 2015).

        As for the dismissal of Claim II against all Defendants,1 Plaintiffs’ notice is not effective

because Defendant TXDOT has filed an answer. (Dkt. 23). The Court therefore will construe

Plaintiffs’ notice as a motion to dismiss pursuant to Federal Rule of Civil Procedure 41(a)(2). Rule

41(a)(2) “allows plaintiffs to freely dismiss their suits, subject to court approval, provided the

dismissal does not prejudice any party.” Templeton v. Nedllovd Lines, 901 F.2d 1273, 1274 (5th Cir.

1990). The district court has discretion to grant a Rule 41(a)(2) motion to dismiss. Manshack v. Sw.

Elec. Power Co., 915 F.2d 172, 174 (5th Cir. 1990). Generally, motions for voluntary dismissal should

be freely granted, unless the non-moving party can show it would suffer some plain legal prejudice.

Elbaor v. Tripath Imaging, Inc., 279 F.3d 314, 317 (5th Cir. 2002). The Court finds that TXDOT will

not suffer any legal prejudice because, according to Plaintiffs’ notice, it has stipulated to this

dismissal. (Dkt. 26). Therefore, the Court will dismiss Claim II against TXDOT.

        Accordingly, IT IS ORDERED that all claims are DISMISSED WITHOUT

PREJUDICE against Marc Williams.

        IT IS FURTHER ORDERED that Marc Williams is TERMINATED as a party in this

case.

        IT IS FURTHER ORDERED that Marc Williams’s Motion to Dismiss, (Dkt. 11), is

MOOT.




1 TXDOT is now the only remaining defendant.
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       IT IS FURTHER ORDERED that Claim II is DISMISSED WITHOUT

PREJUDICE as to all Defendants.

       IT IS FINALLY ORDERED that Texas Department of Transportation’s Motion to

Dismiss, (Dkt. 22), is MOOT given that it only sought to dismiss Claim II.



       SIGNED on May 7, 2024.




                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
